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                         UNITED STATES DISTRICT COURT

                            DISTRICT OF NEW MEXICO
                      ________________________________________

  FILBERT C. VIALPANDO,

         Plaintiff,

  v.                                                   No. 1:18-cv-00251-BRB-SCY

  CHEVRON MINING, INC.,

         Defendant.

                      ________________________________________

 ORDER DENYING PLAINTIFF’S RULE 59 MOTION TO ALTER OR AMEND
                           JUDGMENT
             ________________________________________

       This matter is before the Court on Plaintiff’s “Rule 59 Motion to Alter or Amend.”

Docket No. 21. In the motion, Plaintiff asks the Court to alter or amend its grant of partial

summary judgment in favor of Defendant regarding the lump-sum reimbursement. Docket

No. 19. In its Order on Cross-Motions for Summary Judgment, the Court held Plaintiff is

not entitled to additional compensation for the lump-sum reimbursement payments because

the reimbursement payment did not become due until the District Director issued a final

calculation of benefits on December 27, 2017 and Defendant timely paid the lump-sum

once it became due. Docket No. 19 at 10−11; see 20 C.F.R. § 725.502(b)(2) (benefits are

not due—and therefore additional compensation cannot begin to accrue—until the District

Director issues a computation of benefits following the issuance of an effective award).

Plaintiff first contends the Court should not “mechanically adher[e]” to the language in 20
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C.F.R. § 725.502(b)(2) and, instead, employ a “flexible approach.” Doc. No. 21 at 6. In

the alternative, Plaintiff argues 20 C.F.R. § 725.502(b)(2) is unconstitutional as applied to

him. Defendant responds that Plaintiff raises new arguments and that the Court should

deny Plaintiff’s motion. Docket No. 22.

       Under Rule 59(e), a party may ask a district court to reconsider a summary judgment

ruling when the district court has “misapprehended the facts, a party’s position, or the

controlling law.” Barber ex rel. Barber v. Colo. Dep't of Revenue, 562 F.3d 1222, 1228

(10th Cir. 2009) (quoting Servants of Paraclete v. Does, 204 F.3d 1005, 1012 (10th Cir.

2000)). Grounds warranting a Rule 59(e) motion include, “(1) an intervening change in

the controlling law, (2) new evidence previously unavailable, and (3) the need to correct

clear error or prevent manifest injustice.” Servants of Paraclete, 204 F.3d at 1012.

Reconsideration is “not available to allow a party to reargue an issue previously addressed

by the court when the reargument merely advances new arguments or supporting facts

which were available for presentation at the time of the original argument.” FDIC v. United

Pac. Ins. Co., 152 F.3d 1266, 1272 (10th Cir. 1998) (quoting Cashner v. Freedom Stores,

Inc., 98 F.3d 572, 577 (10th Cir. 1996)).

       Plaintiff claims the Court should interpret 20 C.F.R. § 725.502(b)(2) flexibly to

comport with the purpose of the additional compensation penalty within the regulatory

scheme. 1 Plaintiff—for the first time in his Rule 59 motion—attempts to assert this new


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  The purpose of the additional compensation provision is “to ensure prompt compliance
by an employer with its benefits obligations under the terms of an award, and without
regard to further proceedings involving the claim.” Regulations Implementing the Federal
Coal Mine Health and Safety Act of 1969, 64 Fed. Reg. 54,966, 55,000 (Oct. 8, 1999)).
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argument that should have been raised in his motion for summary judgment.                 An

opportunity to raise new arguments is not the purpose of a Rule 59 motion. See Servants

of Paraclete, 204 F.3d at 1012 (“It is not appropriate to revisit issues already addressed or

advance arguments that could have been raised in prior briefing.”). Accordingly, the Court

will not consider Plaintiff’s argument that the Court should employ a flexible approach

when interpreting 20 C.F.R. § 725.502(b)(2).

       Even if the Court were to consider Plaintiff’s new argument, he still has not shown

any basis to vacate the entry of judgment in favor of Defendant regarding the lump-sum

reimbursement payment. Plaintiff does not contend the Court misapprehended the facts,

his position, or the controlling law. See Barber, 562 F.3d at 1228. Instead, without citing

authority, Plaintiff argues 20 C.F.R. § 725.502(b)(2) “must be read to ensure that the

District Director’s inaction does not undermine the purpose of the 20% additional

compensation provision and so that Plaintiff is not deprived of $13,000 due to a federal

official’s failure to perform her duty.” Docket No. 21 at 5. While the Court is sympathetic

to Plaintiff’s argument because the District Director’s failure was not Plaintiff’s fault, the

Court is nevertheless bound by the language of the regulation. Plainly, under 20 C.F.R.

§ 725.502(b)(2) lump-sum reimbursement payments “shall be due on the thirtieth day

following issuance of the district director’s computation.” 20 C.F.R. § 725.502(b)(2).

Because Defendant timely paid the lump-sum reimbursement payment within thirty days

of the District Director’s December 27, 2017 letter computing Plaintiff’s benefits,

additional compensation never began to accrue on the lump-sum. Consequently, Plaintiff



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is not entitled to additional compensation and interest on the lump-sum reimbursement

payment.

       In the alternative, Plaintiff claims 20 C.F.R. § 725.502(b)(2) is unconstitutional as

applied to Plaintiff in this case. Docket No. 21 at 8. Plaintiff raises this issue for the first

time in his Rule 59 motion. As discussed, such motions cannot be used to “advance

arguments that could have been raised in prior briefing.” Servants of Paraclete, 204 F.3d

at 1012. Accordingly, the Court will not consider Plaintiff’s new argument.

       After a thorough review of Plaintiff’s Rule 59 Motion, Defendant’s response, and

Plaintiff’s reply, Plaintiff’s Rule 59 motion is DENIED.




                                            Entered for the Court
                                            this 21st day of December, 2018.


                                            \s\ Bobby R. Baldock
                                            Bobby R. Baldock
                                            United States Circuit Judge
                                            Sitting By Designation




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